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              QUINNIPIAC UNIVERSITY


       GUIDELINES AND PROCEDURES FOR

           STUDENTS WITH DISABILITIES




                                                         January, 2015




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                        SECTION 1


                 Policies and Procedures

                             for

                 Students with Disabilities


                  Quinnipiac University




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1.01 Policy Statement on Disabilities

Quinnipiac University is committed to providing equal educational opportunities and full
participation for students with disabilities. No qualified student will be excluded from
participation in any University program or be subject to any form of discrimination based on
disability.

 Quinnipiac University recognizes its obligations to comply with the Americans with Disabilities
Act of 1990, hereafter referred to as ADA, and Section 504 of the Rehabilitation Act of 1973,
hereafter referred to as Section 504. The ADA states:
“No individual shall be discriminated against on the basis of disability in the full and equal
enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any
place of public accommodation by any private entity who owns, leases (or leases to), or operates
a place of public accommodation.” (28 C.F.R. § 36.201a) Section 504 states: “No otherwise
qualified individual with a disability [...] shall, solely by reason of her or his disability, be
excluded from the participation in, be denied benefits of, or be subjected to discrimination under
any program or activity receiving Federal financial assistance.” (29 U.S.C. § 794) Consistent
with its responsibilities, Quinnipiac University provides reasonable accommodations to promote
equal educational opportunity.

The University provides staff members to ensure compliance with the ADA and Section 504.
These staff members work directly with students, faculty, and staff regarding reasonable
accommodations and other assistance as needed. The University also maintains a grievance
procedure for those students with disabilities who seek resolution of particular issues and desire a
more formalized process. The grievance procedure is discussed in Section 3: ADA/504
Grievance Procedure.

Undergraduate and graduate students contact:         Students of the School of Law contact:
Coordinator of Learning Services                     Associate Dean of Students
The Learning Commons – ABL-TLC                       LW-CCS
Arnold Bernhard Library – north wing                 School of Law 310K
203-582-5390                                         203-582-3220

Students of the Frank H. Netter School of Medicine contact:
Associate Dean for Student Affairs
NH-MED
Medicine, Nursing, Health Sciences 211H
203-582-6508




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1.02 Procedures for Accessing Services

The University provides reasonable accommodations to students with disabilities in order to
reduce or eliminate any disadvantages that may exist because of the disability. For example, the
University may decide to permit a student with a disability to opt out of a foreign language
requirement. However, the University is not required by law or this policy to waive specific
courses or academic requirements it considers essential to a particular program or degree if it
would result in a fundamental alteration of the nature of the program or the degree.

      Students requesting accommodations must self-identify and provide the documentation
       described in Section 2 of this Policy to support their request for a reasonable
       accommodation.

      It is the responsibility of the student requesting a reasonable accommodation to present
       current documentation and request an accommodation in a timely manner at the
       beginning of the academic semester.

      Eligibility for reasonable accommodations will be determined on an individual
       case-by-case basis.



1.03 Housing Accommodations Policy - Undergraduates Only

The University is required to provide reasonable accommodations to students with documented
disabilities. A student who requests housing or meal plan accommodations must contact the
Associate Director of Residential Life and the student must submit all relevant information
pertaining to the need for the accommodation. The student will be required to complete a
Housing Accommodations Form which is available from the Office of Residential Life.
Documentation in support of the request for accommodation may be mailed, faxed, or brought
to the Office of Residential Life by the student.

Individual accommodations will depend on various factors including the nature and severity of
the documented disability and available rooms. Consideration will be given to the specific
accommodation requested by the student, but there can be no assurances that the student’s
specific request will be granted if the University determines that it is not feasible or another
accommodation is appropriate under the circumstances.




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1.04 Institutional Rights and Responsibilities

Quinnipiac University through its dedicated offices has the responsibility to:

       1. ensure that University courses, programs, services, activities, and facilities, when
       viewed in their entirety, are offered in the most integrated and appropriate setting.

       2. provide information regarding policies and procedures to students with disabilities and
       assure its availability in accessible formats upon request.

       3. evaluate students on their abilities, not their disabilities.

       4. provide reasonable and appropriate accommodations, academic adjustments, and/or
       auxiliary aids for students with disabilities upon a timely request by students.

       5. maintain appropriate confidentiality of records and communication concerning
       students with disabilities except where disclosure is required by law or authorized by the
       student.

More specifically, personnel in these dedicated offices have the responsibility to:

       1. assist students with disabilities who self-identify and meet University criteria for
       eligibility to receive reasonable and appropriate accommodations, academic adjustments,
       and/or auxiliary aids determined on a case-by-case basis.

       2. assure appropriate confidentiality of all information pertaining to a student’s disability.

       3. assure that the students receive appropriate reasonable accommodations based on
       documentation of the disability.

       4. interact with the faculty, when appropriate.

       5. inform students with disabilities of University policies and procedures for filing a
       formal grievance. [See Section 3 – ADA/504 Grievance Procedure]

Serving students, the Coordinator of Learning Services and/or the Assistant Dean for Student
Affairs, has the right to:

       1. require that students with disabilities conform with the University’s academic
       standards.




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       2. as needed, request from a student current documentation completed by appropriate
       professional(s) to verify the need for reasonable accommodations, academic adjustments,
       and/or auxiliary aids. [See Section 2 - Criteria for Comprehensive Documentation of
       Disabilities]

       3. review the student’s need for reasonable accommodations, academic adjustments,
       and/or auxiliary aids with the professional(s) providing the documentation. This review
       is only conducted with the student’s signed consent authorizing such a discussion.

       4. select among equally effective and appropriate accommodations, adjustments, and/or
       auxiliary aids in consultation with the student.

       5. deny a request for specific accommodations, academic adjustments, and/or auxiliary
       aids if the documentation does not identify a specific disability, fails to verify the need for
       the requested services, is not provided in a timely manner or does not identify the specific
       accommodation.

       6. refuse to provide an accommodation, adjustment, and/or auxiliary aid that is
       inappropriate or unreasonable including any that:

              constitute a substantial change or fundamental alteration to an essential element of
               a course or program
              pose an undue burden on the University.


1.05 Responsibilities of the Student -- Undergraduate and Graduate

1. Contact the Coordinator of Learning Services at the beginning of each semester so that
appropriate reasonable accommodations can be made in a timely manner.

2. Provide to the Coordinator appropriate medical, psychological, psychoeducational, or
neuropsychological documentation indicating the student’s disability and suggested reasonable
accommodations.

3. Provide signed consent authorizing the Coordinator to discuss the student’s need for
reasonable accommodations, academic adjustments, and/or auxiliary aids with the professional(s)
providing the documentation.

4. Meet the time lines and procedural requirements established by the Coordinator for
scheduling exams and requesting assistance. If the student with a disability fails to provide
adequate notice of the need for space and/or assistance, the Coordinator will still attempt to
provide the accommodation to the extent possible under the circumstances.



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1.06 Responsibilities of the Student -- School of Law

1. Contact the Associate Dean of Students - School of Law at the time of enrollment in the
School of Law so that appropriate accommodations can be made in a timely manner. The
student is also responsible for reviewing the need for accommodation on a semester by semester
basis with the Associate Dean of Students.

2. Provide to the Associate Dean of Students appropriate medical, psychological,
psychoeducational, or neuropsychological documentation indicating the student’s disability and
suggested reasonable accommodations.

3. Provide signed consent authorizing the Associate Dean of Students or designee to
discuss the student’s need for reasonable accommodations, academic adjustments, and/or
auxiliary aids with the professional(s) providing the documentation.

4. Meet the time lines and procedural requirements established by the School of Law for
scheduling exams and requesting assistance. If the student with a disability fails to provide
adequate notice of the need for space and/or assistance, the Associate Dean of Students will
attempt to provide the accommodation to the extent possible under the circumstances.


1.07 Responsibilities of the Faculty Member - Undergraduate and Graduate

1. Provide only the accommodations that are recommended by the Coordinator of Learning
Services.

2. Discuss with the Coordinator any concerns related to the accommodations that have been
requested by the student during the initial contact with the faculty member.

3. With respect to examinations in undergraduate and graduate courses,

       a. Discuss the conditions under which the exam is to be administered.

       b. If the student’s exam is to be administered outside of the class, ensure the timely
       delivery of the exam, along with all necessary instructions and materials for proper
       administration. The faculty member may also make arrangements with the student for the
       delivery and return of the exam.

4. Ensure the appropriate confidentiality of information regarding students with disabilities.




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5. Include a statement on syllabi similar to the following:

                                 Faculty Syllabi Statement
       Students with disabilities who wish to request reasonable accommodations should contact
       the Coordinator of Learning Services in Arnold Bernhard Library – north wing at (203)
       582-5390. Quinnipiac University complies with the Americans with Disabilities Act and
       Section 504 of the Rehabilitation Act.


1.08 Responsibilities of the Faculty Member - School of Law

1. Provide only the accommodations that are recommended by the Associate Dean of Students.

2. Discuss with the Associate Dean of Students any concerns related to the accommodations
that have been requested by the student during the initial contact with the faculty member.

3. With respect to examinations in law courses,
      a. Discuss the conditions under which the exam is to be administered.
       b. Ensure the timely delivery of the exam, along with all necessary instructions and
       materials for proper administration to the Associate Dean.

4. Ensure the appropriate confidentiality of information regarding students with disabilities.

5. Include a statement on syllabi similar to the following:

                                 Faculty Syllabi Statement
       Students with disabilities who wish to request reasonable accommodations should
       contact: Associate Dean of Students, School of Law and Education, 310 K (203)
       582-3220. Quinnipiac University complies with the Americans with Disabilities Act
       and Section 504 of the Rehabilitation Act.


1.09 Undergraduate Eligibility for Financial Aid

Quinnipiac University permits students with disabilities to take less than a full-time course load
as a reasonable accommodation, if necessary. Students should discuss full-time course load
requirements with an academic advisor for their respective program and the impact this might
have on financial aid with a financial aid counselor.
Students should be aware that federal Pell Grants will be prorated based on the number of credits
taken, and that a student’s financial aid budget will also be reduced accordingly. In addition,
students must take at least six credits to qualify for the federal Stafford Loan Program.


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Students who carry less than a full-time load per semester may still be eligible for student
financial aid status. In such a case, these procedures must be followed:

         1. Students must provide appropriate documentation to the Coordinator of Learning
         Services to show that their disability substantially limits one or more major life functions
         and it precludes them from taking a full-time course load.

         2. If a student is registered at the beginning of a semester for less than a full-time credit
         load because of an accommodation for a disability, this must be verified by the
         Coordinator of Learning Services. Students must contact the Coordinator for this
         verification NO LATER THAN the last day of the University’s ADD/DROP period.

         3. If a student is registered at the beginning of a semester for a full-time course load, but,
         in order to accommodate his/her disability, withdraws from a course within the approved
         drop period, the student must contact the Coordinator for this verification NO LATER
         THAN the last day of the University’s ADD/DROP period.

         4. The Coordinator will notify the Financial Aid Office each semester of those students
         with disabilities who are carrying less than a full-time course load and who are eligible
         for financial aid consideration under these procedures.

Students should be aware that, as always, eligibility for financial aid depends upon
satisfactory academic progress.



1.10 Course Substitutions for Undergraduate Students

Policy: Recognizing that certain students with disabilities may not be able to achieve academic
success in the quantitative or foreign language area with or without reasonable accommodations,
the University may permit the substitution of specific courses from its university (core)
curriculum1 as an accommodation. Because these requirements are important parts of a program
of study, each case will be carefully considered on an individual basis before a decision is made
by the appropriate Dean.

Procedures: The procedures set forth below must be followed if a student with a disability is
seeking a modification of either the University’s mathematics or foreign language requirement:
         1. The student must file a petition with the Coordinator of Learning Services. The
         petition process should begin as soon as there is strong objective evidence (e.g., taking
         the course and using all resources without success) that the student will be unable to

1 The university curriculum is in effect for freshman students entering fall 2006; the core curriculum is in effect for
students entering prior to fall 2006 – see catalogue for details.

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       fulfill the requirement.
       2. The student must provide the Coordinator of Learning Services with documentation
       that satisfies the requirements of Section 2.02 of this Policy.

Upon completion of these steps, the documentation and the supporting evidence from the case
history are reviewed by the Coordinator of Learning Services. If there is evidence that satisfies
the Coordinator of Learning Services that a substitution is warranted, the Coordinator will
consult with the appropriate Dean. The student will be notified in a timely manner of the final
decision rendered by the Dean. The student may appeal an adverse decision through the
Grievance Procedure described in Section 3 of this Policy.

Any student who receives a course substitution for mathematics or foreign language is expected
to fulfill the University’s core requirements as follows:
                                    Mathematics Requirement
       Students with math learning disabilities who are majoring in the Liberal Arts or
       Communications should contact the Coordinator of Learning Services to enroll in a
       designated section of MA 110, Contemporary Mathematics, a smaller than typical class
       that is geared toward the student with a math learning disability. This section will be
       offered only once a year.


                                 Foreign Language Requirement
       For majors in the College of Liberal Arts or the School of Communications, the foreign
       language requirement may be fulfilled by taking other courses chosen in consultation with
       the Coordinator of Learning Services and the Dean of the appropriate college/school. A
       foreign language course substitution may have ramifications in the future (i.e., admission
       to graduate school). Students from the School of Business majoring in International
       Business will not be allowed a course substitution for foreign language since students
       must complete 6 credits of 200-level foreign language courses.




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                        SECTION 2




                Criteria for Comprehensive

               Documentation of Disabilities

                 in Adolescents and Adults

                 at Quinnipiac University




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2.01 Introduction

This document provides students, parents, professional diagnosticians external to Quinnipiac
University, and service providers within Quinnipiac University with a common understanding
and knowledge base of those components of documentation which are necessary to validate
the existence of a disability, to evaluate its impact on the student’s educational performance, and
to justify the need for reasonable accommodations for students attending Quinnipiac University.

Under the Americans with Disabilities Act (ADA) and Section 504 of the Rehabilitation Act of
1973, individuals with disabilities are guaranteed certain protections and rights of equal access to
programs and services. However, in order to fall within the laws’ protections, an individual must
have a physical or mental impairment that substantially limits one or more major life activities.
Thus the student’s documentation must indicate that the disability substantially limits some
major life activity, including learning. The following information is provided in the interest of
assuring that all documentation presented by the student is appropriate to verify eligibility and to
support requests for reasonable accommodations, academic adjustments, and/or auxiliary aids.

The information and documentation that establishes a disability must be comprehensive in order
to make it possible for a student to obtain appropriate accommodations in a timely fashion. This
document presents requirements in four important areas: 1) qualifications of the evaluator,
2) appropriate clinical documentation to substantiate the specific disability, 3) recency of
documentation, and 4) evidence to establish a rationale supporting the need for accommodations.

Quinnipiac University has a responsibility to maintain confidentiality of the evaluation and may
not release any part of the documentation without the student's informed and written consent.
Disability information is kept in a separate, secure location and is not included in a student's
general education records.

Students who choose not to disclose their disability forfeit all academic accommodations,
including test accommodations. Students who choose not to disclose their disability but later
change their minds as the semester progresses must allow at least two weeks for accommodations
to begin. There will be no retroactive consideration or adjustment to grades. It is important to
note that Quinnipiac University does not evaluate students for a disability nor does it
provide documentation of a disability for students requesting accommodations. It is up to
the students to provide their own documentation of a disability from a qualified
diagnostician.




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2.02 Documentation Requirements

2.02A Qualifications of the Evaluator

Professionals conducting assessments, rendering diagnoses of specific disabilities, and making
recommendations for appropriate accommodations must be qualified to do so. Comprehensive
training with regard to the specific disability being addressed and relevant experience with an
adolescent/adult population are essential.

The name, title and professional credentials of the evaluator, including information about license
or certification as well as the area of specialization, employment and state in which the individual
practices must be clearly stated in the documentation. All reports should be on letterhead, typed,
dated, signed and otherwise legible. It is of utmost importance that evaluators are sensitive and
respectful of cultural and linguistic differences in adolescents/adults during the assessment
process. It is not considered appropriate for professionals to evaluate members of their own
families.

Recommendations for adolescents/adults who must obtain an independent diagnostic evaluation
are presented at the end of each specific disability section to assist them in finding and working
with a qualified professional in regard to documentation.

Learning Disabilities ~ The following professionals would generally be considered qualified
to evaluate Specific Learning Disabilities provided they have additional training and experience
in differential diagnosis and the assessment of learning problems in adolescents/adults:
Clinical Psychologists, Educational Psychologists, School Psychologists, Neuropsychologists,
and Learning Disabilities Specialists. Use of diagnostic terminology indicating a learning
disability by someone whose training and experience are not in these fields is not acceptable.

Attention Deficit Hyperactivity Disorder (ADHD) ~ Professionals conducting assessments and
rendering diagnoses of ADHD must have training in differential diagnosis and pertinent
psychological disorders. The following professionals would generally be considered qualified to
evaluate and diagnose ADHD provided they have direct experience with an adolescent/adult
ADHD population: Clinical Psychologists, Neuropsychologists, Psychiatrists, and other
relevantly trained Medical Doctors. A clinical team approach consisting of a variety of
educational, medical, and counseling professionals with training in the evaluation of ADHD in
adolescents/adults may be important. Use of diagnostic terminology indicating an ADHD by
someone whose training and experience are not in these fields is not acceptable.

Psychological Disabilities ~ Professionals conducting assessments and rendering diagnoses
of psychological disabilities must have training in differential diagnosis and the full range
of psychological disorders. The following professionals would generally be considered
qualified to evaluate and diagnose psychological disabilities provided they have comprehensive
training in differential diagnosis and direct experience with an adolescent/adult population:


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Licensed Clinical Psychologists, Licensed Clinical Social Workers, Psychiatrists,
Advanced Practice Registered Nurses or Clinical Nurse Specialists in Psychiatry and
other relevantly trained Medical Doctors. Use of diagnostic terminology indicating a
psychological disability by someone whose training and experience are not in these fields
is not acceptable.

Acquired Brain Injury (ABI)/Traumatic Brain Injury (TBI) ~ Professionals conducting
assessments and rendering diagnoses of ABI/TBI must have post-doctoral training in
identification and treatment of ABI/TBI. The following professionals would generally be
considered qualified to evaluate and develop learning strategies for persons with ABI/TBI:
Neuropsychologists, Educational Psychologists with post graduate concentration in cognitive
strategy development and remediation, and relevantly trained Clinical Psychologists. Use of
diagnostic terminology indicating an ABI/TBI by someone whose training and experience are not
in these fields is not acceptable.

Sensory Conditions
       Blindness or low vision ~ Professionals conducting assessments and rendering
              diagnoses of blindness or low vision include Ophthalmologists. Optometrists
              provide information regarding the measurement of visual acuity, tracking and
              fusion difficulties.
       Deaf/Hard of Hearing/Hearing Impaired ~ Physicians including Otorhinolaryngologists
              and Otologists are qualified to provide diagnosis and treatment of hearing
              disorders. Audiologists may provide current audiograms.

Organic Medical Conditions
      Physical Mobility/Dexterity ~ Any physical disability is considered to be in the medical
             domain and requires the expertise of a physician or other pertinent licensed
             medical personnel.
      Health-Related Illness ~ Any illness, acute or chronic enough to be regarded as a
             disability, is considered to be in the medical domain and requires the expertise
             of a physician or other pertinent licensed medical personnel.


2.02B Recency of Documentation

Because the provision of all reasonable accommodations and services is based upon Quinnipiac
University’s assessment of the current impact of the disability on academic performance, it is in
the student’s best interest to provide recent and appropriate documentation. Documentation must
reflect the current impact the disability has on the student’s functioning at the postsecondary
level. If documentation is inadequate in scope or content, or does not address the student’s
current level of functioning and need for accommodations, reevaluation may be required.
Furthermore, observed changes may have occurred in the student’s performance, or new
medication may have been prescribed or discontinued since the previous assessment was


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conducted. In such cases, it will be necessary to update the evaluation report. The update must
include a detailed assessment of the current impact of the disability, an interpretive integrated
summary of relevant information, a rationale for ongoing services and accommodations, and
previous diagnostic information. If necessary, the Coordinator of Learning Services at
Quinnipiac University will recommend what aspects of the documentation need to be updated or
augmented.


2.02C Comprehensiveness of the Documentation

Disability documentation must verify the nature and extent of the disability in accordance with
current professional standards and techniques, and it must clearly substantiate the need for all of
the student's specific accommodation requests. Documentation should validate the need for
reasonable accommodations based on the individual's current level of functioning in the
educational setting. Students requesting reasonable accommodations for the manifestations of
multiple disabilities must provide evidence of all such conditions. All reports should be on
letterhead, typed, dated, signed and legible. It should integrate the various views regarding a
student's specific functioning abilities and the resulting impact of these abilities as they relate to
postsecondary educational demands. In a public school system, the Planning and Placement
Team recommends the type of evaluations necessary for the educational programming of a
student and provides a special education diagnosis. A diagnostic report would synthesize all of
the diagnostic information culled from the individual reports of the team members and include
the resulting diagnosis.

Quinnipiac University has the discretion to require additional documentation if it is determined
that the existing documentation is incomplete or inadequate to ascertain the extent of the
disability or the need for reasonable accommodations. With the student's written permission, a
telephone consultation with an evaluator to update or clarify information regarding the disability
may be sufficient to complete the existing documentation. Any cost incurred in obtaining
additional documentation when the original records are inadequate for postsecondary purposes is
borne by the student. If the existing documentation is complete but the postsecondary institution
desires a second professional opinion, the postsecondary institution bears the cost.

Comprehensive disability documentation should include the following components:
     1. Evidence of existing impairment
     2. Background information
     3. Specific diagnosis
     4. Integrated summary

1. Evidence of Existing Impairment
Statement of Presenting Problem(s): A history of the individual's presenting problem(s) should
be provided, including evidence of ongoing difficulties/behaviors that significantly impact
functioning.


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2. Background Information
Information collected for the background information summary should be culled from a variety
of sources (e.g., interview, review of records) and, whenever feasible, should consist of more
than a self-report. Information from third party sources is often invaluable. The diagnostician,
using professional judgment as to which areas are relevant, should review pertinent records and
conduct an interview which may include, but not necessarily be limited to, the following: history
of presenting problem(s)/symptom(s); any significant medical, developmental, psychosocial and
employment histories; family history (including primary language of the home and the student's
current level of English fluency); review of pertinent academic history of elementary, secondary,
and postsecondary education; review of prior evaluation reports; description of current functional
limitations pertaining to an educational setting that are presumably a direct result of the
presenting problems; and relevant history of prior treatment, therapy, interventions, or
accommodations.

3. Specific Diagnosis
The report must include a specific diagnosis of the disability by a qualified evaluator. It is
important to rule out alternative explanations for problems such as emotional, attentional, or
motivational issues that may be interfering with learning but do not constitute a specific
disability. If the data indicate that a specific disability is not present, the evaluator should state
that conclusion in the report. The evaluator is encouraged to use direct language in the diagnosis
and documentation of a specific disability, avoiding the use of terms such as “suggests” or “is
indicative of.” It is important to note that the public school system is qualified to diagnose only
educationally related disabilities in accordance with state guidelines (e.g., learning disabilities,
speech and language impairment). The classification of Serious Emotional Disturbance (SED),
that is used in the school systems, is not considered to be an acceptable diagnosis at the
postsecondary level.

4. Integrated Summary
A well-written summary based on a comprehensive evaluation process is a necessary component
of the report. Assessment instruments and the data they provide do not diagnose; rather, they
provide important elements that must be interpreted and integrated by the evaluator with
background information, observations of the student during the testing situation, and the current
context. It is essential, therefore, that professional judgment be used in the development of a
summary. The summary should include: indication of the substantial limitation to learning or
other major life activity presented by the specific disability and the degree to which it impacts the
individual in the learning context for which accommodations are being requested; indication of
whether or not the student was evaluated while on medication and whether or not there is a
positive response to the prescribed treatment; demonstration of the evaluator's having ruled out
alternative explanations for the presenting problems; and indication as to why specific
accommodations are needed, how the effects of the specific disability can be accommodated, and
any record of prior accommodation or auxiliary aids.



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2.02D Recommendations for Accommodations

Accommodation needs can change over time and are not always identified through the initial
diagnostic process. The evaluator(s) must describe the impact, if any, of the diagnosed disability
on a specific major life activity as well as the degree of impact on the individual. The diagnostic
report must include specific recommendations for accommodations that are reasonable. When
possible, a detailed explanation must be provided as to why each accommodation is
recommended and must be correlated with specific functional limitations determined through
interview, observation, and/or testing. Although prior documentation may have been useful in
determining appropriate services in the past, to further facilitate the process of requesting
accommodations at the postsecondary level, current documentation must validate the need for
services based on the individual’s present level of functioning in the educational setting. The
documentation must include any record of prior accommodations or auxiliary aids, including
information about specific conditions under which the accommodations were used
(e.g., standardized testing, final exams, licensing or certification examinations) and whether or
not they benefited the individual). A school plan such as an IEP or a 504 Plan is insufficient
documentation, in and of itself, but can be included as part of a more comprehensive evaluative
report. However, a prior history of accommodations, without demonstration of a current need,
does not, in itself, warrant the provision of a like accommodation. If no prior accommodations
were provided, the qualified professional and/or the individual must include a detailed
explanation as to why no accommodations were used in the past and why accommodations are
needed at this time. Reasonable accommodation(s) may help to ameliorate the disability. The
determination for reasonable accommodation(s) rests with Quinnipiac University working in
collaboration with the individual with the disability and, when appropriate, university faculty.
Accommodations may vary based on course content and/or academic programs. If
accommodations are not clearly identified in a diagnostic report, the Coordinator of Learning
Services will seek clarification and, if necessary, additional information.




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2.03 Documentation Guidelines for Specific Disabilities

2.03A Learning Disabilities

2.03A1 Brief Overview
(For more detail please refer to Section 2.03A2 Criteria for Comprehensive Documentation of
Learning Disabilities.)

Students requesting accommodation on the basis of a Specific Learning Disability must provide
current (within the last three years) documentation from a professional who has undergone
comprehensive training and has relevant experience in the assessment of learning problems in
adolescents and/or adults (e.g., Clinical or Educational Psychologists, School Psychologists,
Neuropsychologists, and Learning Disabilities Specialists). In addition to the requirements
specified above, documentation for students requesting accommodations on the basis of a
Learning Disability must include, but is not limited to:

a) An interview including a description of the presenting problem(s); any significant
developmental, medical, psychosocial and employment histories; family history
(including primary language of the home and the student's current level of English fluency); and
a discussion of dual diagnosis where indicated.

b) A complete assessment of intellectual functioning/aptitude as measured by the Wechsler
Adult Intelligence Scale-IV (WAIS-IV) with standard and scaled scores, including subtest scores.
The Woodcock-Johnson Psychoeducational Battery-III: Tests of Cognitive Ability or the
Stanford-Binet Intelligence Scales, Fifth Edition are also acceptable. The Kaufman Brief
Intelligence Test (KBIT-2) and the Slosson Intelligence Test - Revised (SIT-3) are NOT
comprehensive measures and therefore are not suitable for use in the initial diagnosis of a
Learning Disability.

c) A comprehensive academic achievement battery that measures current levels of functioning
in Reading (decoding and comprehension), Mathematics, Oral Language, and Written Language
[e.g., Woodcock-Johnson Psychoeducational Battery - III: Tests of Achievement,
Wechsler Individual Achievement Test-III (WIAT-III), Stanford Test of Academic Skills (TASK),
Scholastic Abilities Test for Adults (SATA), or specific achievement tests such as
Test of Written Language-4 (TOWL-4), Woodcock Reading Mastery Tests-Third Edition,
Stanford Diagnostic Mathematics Test]. All standard scores, standard deviations and
percentiles must be reported for those subtests administered. The Wide Range Achievement
Test-4 (WRAT-4) is NOT a comprehensive measure of achievement and is therefore not suitable.
Test selection must be guided by the age of the student and the test norms. Tests used should
also be technically sound (e.g., statistically reliable and valid) and standardized for use with an
adolescent/adult population.




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d) An assessment of specific areas of information processing (e.g., short- and long-term
memory, sequential memory, sequential and simultaneous processing, executive functioning,
processing speed, auditory and visual perception/processing, and motor ability). Information
from subtests on the WAIS-IV, the Woodcock-Johnson Psychoeducational Battery - III: Tests of
Cognitive Ability, or the Detroit Tests of Learning Aptitude - Adult (DTLA-A), as well as other
instruments relevant to the presenting learning problem(s) may be used to address these areas.

e) Other assessment measures such as non-standard measures and informal assessment
procedures or observations may be helpful in determining performance across a variety of
domains. Formal assessment instruments may be integrated with these types of measures to help
determine a Learning Disability and differentiate it from co-existing neurological and/or
psychological disorders (i.e., to establish a differential diagnosis). In addition to standardized
tests, it is also very useful to include informal observations of the student during the test
administration.

f) A diagnosis of a Specific Learning Disability. Individual “learning styles,” “learning
differences,” “academic problems,” and “test difficulty or anxiety,” in and of themselves, do not
constitute a Learning Disability. It is important for the evaluator to demonstrate that alternative
explanations for academic problems as a result of poor education, poor motivation and/or study
skills, emotional problems, attentional problems, and cultural/language issues that may be
interfering with learning but do not constitute a Learning Disability have been ruled out.

g) An indication of how patterns in the student's cognitive ability, achievement, and information
processing reflect the presence of a Learning Disability.

h) An integrated summary which: indicates the substantial limitations to major life activities
posed by the Specified Learning Disability, describes the extent to which these limitations impact
the academic context for which accommodations are being requested, suggests how the specific
effects of the Learning Disability may be accommodated, and then states how the effects of the
Learning Disability are mediated by the recommended accommodations.


2.03A2 Criteria for Comprehensive Documentation of Learning Disabilities

Introduction

This section provides students, parents, professional diagnosticians external to Quinnipiac
University, and service providers with a common understanding and knowledge base of those
components of documentation which are necessary to validate a Learning Disability (LD) and to
justify the need for reasonable accommodations for students attending Quinnipiac University.
The information and documentation that establishes a Learning Disability should be
comprehensive in order to make it possible for a student to obtain appropriate accommodations
in a timely fashion.


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This section presents requirements in five important areas: 1) qualifications of the evaluator,
2) recency of documentation, 3) appropriate clinical documentation to substantiate the Learning
Disability, 4) evidence to establish a rationale supporting the need for accommodations, and
5) confidentiality. Section 2.03A3 provides recommendations for parents and students to assist
them in finding and working with a qualified professional in regard to appropriate
documentation. It also includes a suggested listing of standardized tests for assessing adolescents
and adults with suspected Learning Disabilities.

Under the Americans with Disabilities Act (ADA) and Section 504 of the Rehabilitation Act of
1973, individuals with Learning Disabilities are guaranteed certain protections and rights of
equal access to programs and services; thus the student’s documentation should indicate that the
disability substantially limits some major life activity, including learning. The following
information is provided in the interest of assuring that all LD documentation presented by the
student is appropriate to verify eligibility and to support requests for accommodations, academic
adjustments, and/or auxiliary aids.

Documentation Requirements – Learning Disabilities

Qualifications of the Evaluator

Professionals conducting assessments, rendering diagnoses of Learning Disabilities, and making
recommendations for appropriate accommodations must be qualified to do so. Comprehensive
training and relevant experience with an adolescent and adult LD population are essential.

The name, title, and professional credentials of the evaluator, including information about license
or certification as well as the area of specialization, employment, and state in which the
individual practices must be clearly stated in the documentation. For example, the following
professionals would generally be considered qualified to evaluate Specific Learning Disabilities
provided that they have additional training and experience in evaluating adolescent and adult
Learning Disabilities: Clinical Psychologists, Educational Psychologists, School Psychologists,
Neuropsychologists, and Learning Disabilities Specialists. Use of diagnostic terminology
indicating a Specific Learning Disability by someone whose training and experience are not in
these fields is not acceptable. It is of utmost importance that evaluators are sensitive and
respectful of cultural and linguistic differences in adolescents and adults during the assessment
process. It is not considered appropriate for professionals to evaluate members of their families.
All reports should be on letterhead, typed, dated, signed and otherwise legible.

Recency of Documentation

The provision of all reasonable accommodations and services is based upon assessment of the
impact of the student’s disability on his or her academic performance at a given time in the
student’s life. Therefore, it is in the student’s best interest to provide recent and appropriate
documentation relevant to the student’s learning environment. Quinnipiac University is aware


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that once a person is diagnosed with a qualified Specific Learning Disability under the
Americans with Disabilities Act, the disability is believed to be life-long; however, the severity
may change over time.

Flexibility in accepting documentation is important. In some instances, documentation may be
outdated or inadequate in scope or content. It may not address the student’s current level of
functioning or need for accommodations because observed changes may have occurred in the
student’s performance since the previous assessment was conducted. In such cases, it may be
appropriate to update the evaluation report. Since the purpose of the update is to determine the
student’s current need for accommodations, the update, conducted by a qualified professional,
should include a rationale for ongoing accommodations.

Substantiation of the Learning Disability

Documentation must validate the need for accommodations based on the individual’s current
level of functioning in the educational setting. A school plan such as an Individualized
Education Program (IEP) or a 504 plan, while insufficient, can be included as part of a more
comprehensive assessment battery. A comprehensive assessment battery and the resulting
diagnostic report must include a diagnostic interview, assessment of aptitude, academic
achievement, information processing and a diagnosis.

   a) Diagnostic Interview
       An evaluation report must include the summary of a comprehensive diagnostic interview.
       Learning Disabilities are commonly manifested during early childhood, but not always
       formally diagnosed. Relevant information regarding the student’s academic history and
       learning processes in elementary, secondary, and postsecondary education must be
       investigated and documented. The diagnostician, using professional judgment as to
       which areas are relevant, should conduct a diagnostic interview which may include: a
       description of the presenting problem(s); developmental, medical, psycho-social, and
       employment histories; family history (including primary language of the home and the
       student’s current level of English fluency); and a discussion of dual diagnosis where
       indicated.

   b) Assessment
       The neuropsychological or psychoeducational evaluation for the diagnosis of a Specific
       Learning Disability must provide clear and specific evidence that a Learning Disability
       does or does not exist. Assessment, and any resulting diagnosis, must consist of and be
       based on a comprehensive assessment battery which does not rely on any one test or
       subtest.

       Evidence of a substantial limitation to learning must be provided. A list of acceptable
       tests is included in Section 2.03A3. Minimally, the domains to be addressed must include
       the following:


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            (1) Aptitude/Cognitive Ability. A complete intellectual assessment with all
                   subtests and standard scores reported.
            (2) Academic Achievement. A comprehensive academic achievement battery is
                   essential, with all subtests and standard scores reported for those subtests
                   administered. The battery must include current levels of academic
                   functioning in relevant areas such as reading (decoding and
                   comprehension), mathematics, and oral and written language.
            (3) Information Processing. Specific areas of information processing
                   (e.g., short-term and long-term memory, sequential memory, auditory and
                   visual perception/processing, processing speed, executive functioning, and
                   motor ability) should be assessed.

    Other assessment measures, such as non-standard measures and informal assessment
    procedures or observations, may be helpful in determining performance across a variety
    of domains. Other formal assessment measures may be integrated with the above
    instruments to help determine a Learning Disability and differentiate it from co-existing
    neurological and/or psychological disorders (i.e., to establish a differential diagnosis). In
    addition to standardized tests, it is also very useful to include informal observations of the
    student during the test administration.

c) Specific Diagnosis
    Nonspecific diagnoses, such as individual “learning styles,” “slow reader,” “learning
    differences,” “academic problems,” and “test difficulty or anxiety,” in and of themselves,
    do not constitute a Learning Disability. It is important to rule out alternative explanations
    for problems in learning such as emotional, attentional, or motivational problems that
    may be interfering with learning but do not constitute a Learning Disability. The
    diagnostician must use direct language in the diagnosis and documentation of a Learning
    Disability, avoiding the use of terms such as “suggests” or “is indicative of.” If the data
    indicate that a Learning Disability is not present, the evaluator must state that conclusion
    in the report.

d) Test Scores
    Standard scores and/or percentiles must be provided for all normed measures. Grade
    equivalents must be accompanied with standard scores and/or percentiles. The data must
    logically reflect a substantial limitation to learning for which the student is requesting the
    accommodation. The particular profile of the student’s strengths and weaknesses must be
    shown to relate to functional limitations that may necessitate accommodations. The tests
    used must be reliable, valid, and standardized for use with an adolescent/adult population.
    The test findings must document both the nature and severity of the Learning Disability.
    Informal inventories, surveys and direct observation by a qualified professional may be
    used in tandem with formal tests in order to further develop a clinical hypothesis.




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   e) Clinical Summary
       A well-written diagnostic summary based on a comprehensive evaluation process is a
       necessary component of the report. Assessment instruments and the data they provide do
       not diagnose; rather, they provide important elements that must be integrated by the
       evaluator with background information, observations of the client during the testing
       situation, and the current context. It is essential, therefore, that professional judgment be
       utilized in the development of a clinical summary. The clinical summary must include:

               (1) demonstration of the evaluator’s having ruled out alternative explanations for
               academic problems as a result of poor education, poor motivation and/or
               study skills, emotional problems, attentional problems, and
               cultural/language differences;

               (2) indication of how patterns in the student’s cognitive ability, achievement, and
               information processing reflect the presence of a Learning Disability;
               (3) indication of the substantial limitation to learning or other major life activity
               presented by the Learning Disability and the degree to which it impacts the
               individual in the learning context for which accommodations are being
               requested;
               (4) indication as to why specific accommodations are needed and how the effects
               of the specific disability are accommodated.
       The summary should also include any record of prior accommodation or auxiliary aids,
       including any information about specific conditions under which the accommodations
       were used (e.g., standardized testing, final exams, licensing or certification
       examinations).

Recommendations for Accommodations

It is important to recognize that accommodation needs can change over time and are not always
identified through the initial diagnostic process. Conversely, a prior history of accommodation,
without demonstration of a current need, does not in and of itself warrant the provision of a
similar accommodation.

The diagnostic report must include specific recommendations for accommodations as well as an
explanation as to why each accommodation is recommended. The evaluators must describe the
impact the diagnosed Learning Disability has on a specific major life activity as well as the
degree of significance of this impact on the individual. The evaluator must support
recommendations with specific test results or clinical observations. If no prior accommodations
have been provided, a detailed explanation should be included as to why no accommodations
were used in the past and why accommodations are needed at this time.



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If accommodations are not clearly identified in a diagnostic report, the Coordinator of Learning
Services will seek clarification and, if necessary, more information. The final determination for
providing appropriate and reasonable accommodations rests with Quinnipiac University.
In instances where a request for accommodations is denied at Quinnipiac University, a written
grievance or appeal procedure can be initiated with the Director of the Learning Center.
[See Section 3 – ADA/504 Grievance Procedure]

Confidentiality

Quinnipiac University has a responsibility to maintain confidentiality of the evaluation and may
not release any part of the documentation without the student’s informed and written consent.


2.03A3 Recommendations for Parents and Students – Learning Disabilities

1. For assistance in finding a qualified professional:
    contact the Coordinator of Learning Services at Quinnipiac University to discuss
       documentation requirements
    discuss your future plans with the Coordinator and, if additional documentation is
       required, seek assistance in identifying a qualified professional

2. In selecting a qualified professional:
     ask what his/her credentials are
     ask what experience he/she has working with adults with Learning Disabilities
     ask if he/she has every worked with the Coordinator of Learning Services at Quinnipiac
        University

3. In working with the professional:
     take a copy of this document to the professional
     encourage him/her to clarify questions with the Coordinator of Learning Services
     be prepared to be forthcoming, thorough, and honest with requested information
     know that professionals must maintain confidentiality with respect to your records and
       testing information

4. As follow-up to the assessment by the professional:
    request a written copy of the assessment report
    request the opportunity to discuss the results and recommendations
    request additional resources if you need them
    maintain a personal file of your records and reports




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Tests for Assessing Adolescents and Adults with Learning Disabilities

When selecting a battery of tests, it is critical to consider the technical adequacy of instruments
including their reliability, validity, and standardization on an appropriate norm group. The
professional judgment of an evaluator in choosing tests is important. The following list is
provided as a helpful resource, but it is not intended to be definitive or exhaustive.

   Aptitude
       Wechsler Adult Intelligence Scale - IV (WAIS-IV)
       Woodcock-Johnson Psychoeducational Battery - III: Tests of Cognitive Ability
       Kaufman Adolescent and Adult Intelligence Test (KAIT)
       Stanford-Binet Intelligence Scales, Fifth Edition (SB5)

               The Slosson Intelligence Test - Revised and the Kaufman Brief Intelligence Test-2
               are primarily screening devices which are not comprehensive enough to provide
               the kinds of information necessary to make accommodation decisions.

   Academic Achievement
       Wechsler Individual Achievement Test - Third Edition (WIAT-III)
       Woodcock-Johnson Psychoeducational Battery - III: Tests of Achievement
       Scholastic Abilities Test for Adults (SATA)
       Stanford Test of Academic Skills (TASK)
             or specific achievement tests such as:
                      Nelson-Denny Reading Test
                      Stanford Diagnostic Mathematics Test
                      Test of Written Language - 4 (TOWL-4)
                      Woodcock Reading Mastery Tests - Third Edition (WRMT-III)
      Specific achievement tests are useful instruments when administered under
      standardized conditions and interpreted within the context of other diagnostic
      information. The Wide Range Achievement Test - 4 (WRAT-4) is not a comprehensive
      measure of achievement and therefore must not be used as the sole measure of
      achievement.

   Information Processing
      Acceptable instruments include:
            The Detroit Tests of Learning Aptitude - Fourth Edition (DTLA-4)
            The Detroit Tests of Learning Aptitude - Adult (DTLA-A)
            information from subtests on WAIS-IV, and/or
                    Woodcock-Johnson Psychoeducational Battery - III:
                           Tests of Cognitive Ability.




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2.03B Attention Deficit Hyperactivity Disorder (ADHD)

2.03B1 Brief Overview
(For more detail please refer to Section 2.03B2: Criteria of Comprehensive Documentation of
ADHD.)

Students requesting accommodations on the basis of ADHD must provide current
(within the last three years) documentation by a professional who has undergone comprehensive
training and has relevant experience in differential diagnosis and the full range of psychiatric
disorders (e.g., Psychologists, Psychiatrists, Neuropsychologists and other relevantly trained
Medical Doctors). In addition to the requirements specified above, documentation for students
requesting accommodations on the basis of ADHD must include:

a) Evidence of early impairment. The condition must have been exhibited in childhood
       in more than one setting.

b) Evidence of current impairment. A history of the individual’s presenting attentional
       symptoms and evidence of current impulsive/hyperactive or inattentive behaviors
       that significantly impair functioning in two or more settings must be provided.

c) An interview. The interview must contain self-report and third-party information pertaining
       to: any significant developmental history; family history of ADHD or other educational,
       learning, physical, or psychological difficulties; relevant medical and medication history;
       a thorough academic history; and a review of prior psychoeducational test reports to
       determine whether a pattern of strengths or weaknesses is supportive of attention or
       learning problems.

d) Description of relevant employment history.

e) Description of current functional limitations pertaining to an educational setting that are
      presumably a direct result of problems with attention.

f) Evidence of alternative diagnoses or explanations being ruled out. The documentation must
       investigate and discuss the possibility of dual diagnoses and alternative or coexisting
       mood, behavioral, neurological, and/or personality disorders that may confound the
       ADHD diagnosis. For a diagnosis of ADHD, the symptoms may not occur exclusively
       during the course of a Pervasive Developmental Disorder, Schizophrenia, or other
       Psychotic Disorder, and are not better accounted for by another mental disorder
       (e.g., Mood Disorder, Anxiety Disorder, Dissociative Disorder, or a
       Personality Disorder).




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g) A discussion of the neuropsychological or psychoeducational assessments administered to
       determine the current impact of the disorder on the individual’s ability to function in an
       academic setting. Such data should include standard scores, standard deviations and
       percentiles reported in table format for those subtests administered.

h) A specific psychiatric diagnosis as per the Diagnostic and Statistical Manual Of Mental
       Disorders, Fifth Edition, (DSM-5) of the American Psychiatric Association (2013).
       Symptoms of hyperactivity/impulsivity which were present in childhood and the
       current symptoms which have been present for at least the past six months and
       which impair functioning in two or more settings (e.g., school, work, home) must
       also be identified.

i) An indication of whether or not the student was evaluated while on medication, and whether
       or not the prescribed treatment produced a positive response.

j) Prescribed medications, dosages and schedules, including any possible side effects, which may
       influence the types of accommodations provided.

k) An integrated summary which: indicates the substantial limitations to major life activities
       posed by the disability, describes the extent to which these limitations would impact the
       academic context for which accommodations are being requested, suggests how the
       specific effects of the disability may be accommodated, and states how the effects of
       ADHD are mediated by the recommended accommodations.


2.03B2 Criteria for Comprehensive Documentation of ADHD

Introduction

Although the more generic term Attention Deficit Disorder (ADD) is frequently used, the official
nomenclature in the 2013 American Psychiatric Association’s Diagnostic and Statistical Manual
of Mental Disorders, Fifth Edition, (DSM-5) is Attention- Deficit/Hyperactivity Disorder
(ADHD) which is used in this document. This document provides students, parents, professional
diagnosticians external to Quinnipiac University, and service providers with a common
understanding and knowledge base of the components of documentation which are necessary to
validate the existence of ADHD and its impact on the individual’s educational performance and
to justify the need for reasonable accommodations for students attending Quinnipiac University.
The information and documentation that establishes this disorder must be comprehensive in order
to make it possible for a student to obtain appropriate accommodations in a timely fashion.




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This document presents requirements in five important areas: 1) qualifications of the evaluator,
2) recency of documentation, 3) comprehensiveness of the documentation to substantiate the
ADHD, 4) evidence to establish a rationale to support the need for accommodations, and
5) confidentiality. Section 2.03B3 provides recommendations for parents and students to assist
them in finding and working with a qualified professional in regard to this documentation.

Under the Americans with Disabilities Act (ADA) and Section 504 of the Rehabilitation Act of
1973, individuals with disabilities are protected from discrimination and assured services. In
order to establish that an individual is covered under the ADA, the documentation must indicate
that the disability substantially limits some major life activity, including learning. The following
documentation requirements are provided in the interest of assuring that documentation of
ADHD demonstrates an impact on a major life activity and supports the request for
accommodations, academic adjustments, and/or auxiliary aids.


Documentation Requirements - ADHD

Qualifications of the Evaluator

Professionals conducting assessments, rendering diagnoses of ADHD, and making
recommendations for appropriate accommodations must be qualified to do so. Comprehensive
training and relevant experience in differential diagnosis and the full range of psychological
disorders are essential. The name, title, and professional credentials of the evaluator, including
information about license or certification, as well as the area of specialization, employment, and
state in which the individual practices must be clearly stated in the documentation. All reports
must be on letterhead, typed, dated, signed, and otherwise legible. The following professionals
would generally be considered qualified to evaluate and diagnose ADHD provided they have
comprehensive training in the differential diagnosis of ADHD and direct experience with an
adolescent or adult ADHD population: Clinical Psychologists, Psychiatrists, Neuropsychologists,
and other relevantly trained Medical Doctors. It may be appropriate to use a clinical team
approach consisting of a variety of educational, medical, and counseling professionals with
training in the evaluation of ADHD in adolescents and adults.

Use of diagnostic terminology indicating an ADHD by someone whose training and experience
are not in these fields is not acceptable. It is also not considered appropriate for professionals to
evaluate members of their own families.

Recency of Documentation

Because the provision of all reasonable accommodations and services is based upon Quinnipiac
University’s assessment of the current impact of the disability on academic performance, it is in
the student’s best interest to provide recent and appropriate documentation. In most cases, this
means that a diagnostic evaluation must have been completed within the past three years.


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Flexibility in accepting documentation which exceeds a three-year period may be important
under certain conditions, if the previous assessment is applicable to Quinnipiac University. If
documentation is inadequate in scope or content, or does not address the student’s current level
of functioning and need for accommodations, reevaluation may be required. Furthermore,
observed changes may have occurred in the student’s performance since previous assessment, or
new medication may have been prescribed or discontinued since the previous assessment was
conducted. In such cases, it will be necessary to update the evaluation report. The update must
include a detailed assessment of the current impact of the ADHD, an interpretive summary of
relevant information (subsection 3G below) and the previous diagnostic report. If necessary, the
Coordinator of Learning Services at Quinnipiac University will recommend what aspects of the
documentation need to be updated or augmented.

Comprehensiveness of the Documentation

   a) Evidence of Early Impairment
       Because ADHD is, by definition, first exhibited in childhood (although it may not have
       been formally diagnosed) and manifests itself in more than one setting, relevant historical
       information is essential. The following must be included in a comprehensive assessment:
       clinical summary of objective historical information establishing symptomology
       indicative of ADHD throughout childhood, adolescence and adulthood as garnered from
       transcripts, report cards, teacher comments, tutoring evaluations, past psychoeducational
       testing, and third party interviews when available.

   b) Evidence of Current Impairment
       In addition to providing evidence of a childhood history of an impairment, the following
       areas must be investigated:

       (1) Statement of Presenting Problem A history of the student’s presenting attentional
               symptoms must be provided, including evidence of ongoing
               impulsive/hyperactive or inattentive behaviors that significantly impair
               functioning in two or more settings.

       (2) Diagnostic Interview The information collected for the summary of the diagnostic
              interview must consist of more than self-report, as information from third party
              sources is critical in the diagnosis of ADHD. The diagnostic interview with
              information from a variety of sources must include, but not necessarily be limited
              to, the following:
                       (a) history of presenting attentional symptoms, including evidence of
                               ongoing impulsive/hyperactive or inattentive behavior that has
                               significantly impaired functioning over time;
                       (b) developmental history;




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                    (c) family history for presence of ADHD and other educational, learning,
                             physical, or psychological difficulties deemed relevant by the
                             examiner;
                    (d) relevant medical and medication history, including the absence of a
                             medical basis for the symptoms being evaluated;
                    (e) relevant psychosocial history and any relevant interventions;
                    (f) a thorough academic history of elementary, secondary, and
                             postsecondary education;
                    (g) review of prior psychoeducational test reports to determine whether a
                             pattern of strengths or weaknesses is supportive of attention or
                             learning problems;
                    (h) relevant employment history;
                    (i) description of current functional limitations pertaining to an
                             educational setting that are presumably a direct result of problems
                             with attention;
                    (j) relevant history of prior therapy.

c) Rule Out of Alternative Diagnoses or Explanations
    The evaluator must investigate and discuss the possibility of dual diagnoses and
    alternative or co-existing mood, behavioral, neurological, and/or personality disorders
    which may confound the diagnosis of ADHD. This process must include exploration of
    possible alternative diagnoses, medical and psychiatric disorders as well as educational
    and cultural factors impacting the student which may result in behaviors mimicking an
    Attention-Deficit/Hyperactivity Disorder.

d) Relevant Testing
    The assessment of the individual must not only establish a diagnosis of ADHD, but must
    also demonstrate the current impact of the ADHD on the student’s ability to function in a
    classroom and take tests. In addition, neuropsychological or psychoeducational
    assessment is important in determining the current impact of the disorder on the student’s
    ability to function at Quinnipiac University. The evaluator must objectively review and
    include with the evaluation report relevant background information to support the
    diagnosis. If grade equivalents are reported, they must be accompanied by standard
    scores and/or percentiles. Test scores or subtest scores alone must not be used as a sole
    measure for the diagnostic decision regarding ADHD. Selected subtest scores from
    measures of intellectual ability, memory functions tests, attention or tracking tests, or
    continuous performance tests do not in and of themselves establish the presence or
    absence of ADHD. Checklists and/or surveys can serve to supplement the diagnostic
    profile but in and of themselves are not adequate for the diagnosis of ADHD and do not
    substitute for clinical observations and sound diagnostic judgment. All data must
    logically reflect a substantial limitation to learning for which the student is requesting the
    accommodation.



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e) Identification of DSM-5 Criteria
    According to the DSM-5, “The essential feature of ADHD is a persistent pattern of
    inattention and/or hyperactivity-impulsivity that interferes with functioning or
    development.” (p. 61). A diagnostic report must include a review and discussion of the
    DSM-5 criteria for ADHD, both currently and retrospectively, and specify which
    symptoms are present. In diagnosing ADHD, it is particularly important to address the
    following criteria:
    (1) symptoms of hyperactivity/impulsivity or inattention that cause impairment which
            must have been present in childhood;
    (2) current symptoms that have been present for at least the past six months;
    (3) impairment from the symptoms present in two or more settings
            (for example, school, work, and home);
    (4) clear evidence of significant impairment in social, academic, or occupational
            functioning;
    (5) symptoms which do not occur exclusively during the course of a Pervasive
            Developmental Disorder, Schizophrenia, or other Psychotic Disorder and are not
            better accounted for by another mental disorder (e.g., Anxiety Disorder,
            Dissociative Disorder, or Personality Disorder).

f) A Specific Diagnosis
    The report must include a specific diagnosis of ADHD based on the DSM-5
    diagnostic criteria. The diagnostician must use direct language in the diagnosis of
    ADHD, avoiding the use of terms such as “suggests,” “is indicative of,” or “attention
    problems.” Individuals who report only problems with organization, test anxiety,
    memory, or concentration in selective situations do not fit the proscribed diagnostic
    criteria for ADHD. Given that many individuals benefit from prescribed medications and
    therapies, a positive response to medication by itself does not confirm a diagnosis nor
    does the use of medication in and of itself either support or negate the need for
    accommodation.

g) An Interpretive Summary
    A well-written interpretative summary based on a comprehensive evaluative process is a
    necessary component of the documentation. Because ADHD is in many ways a diagnosis
    which is based upon the interpretation of historical data and observation, as well as other
    diagnostic information, it is essential that professional judgment be utilized in the
    development of a summary, which must include:
           (1) demonstration of the evaluator’s having ruled out alternative explanations for
                   inattentiveness, impulsivity, and/or hyperactivity as a result of
                   psychological disorders, medical disorders, or non-cognitive factors;
           (2) indication of how a pattern of inattentiveness, impulsivity, and/or hyperactivity
                   across the life span and across setting are used to determine the presence
                   of ADHD;



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               (3) indication of whether or not the student was evaluated while on medication
                       and whether or not there is a positive response to the prescribed treatment;
               (4) indication and discussion of the substantial limitation to learning presented by
                       the ADHD and the degree to which it impacts the student in the learning
                       context for which accommodations are being requested;
               (5) indication as to why specific accommodations are needed and how the effects
                       of ADHD symptoms, as designated by the DSM-5, are mediated by the
                       accommodations.

A Rationale For Each Accommodation

The evaluator must describe the impact, if any, of the diagnosed ADHD on a specific major life
activity as well as the degree of impact on the student. The diagnostic report must include
specific recommendations for accommodations that are realistic and that Quinnipiac University
can reasonably provide. A detailed explanation of why each accommodation is recommended
must be provided and correlated with specific functional limitations determined through
interview, observation, and/or testing. Although prior documentation may have been useful in
determining appropriate services in the past, current documentation must validate the need for
services based on the student’s present level of functioning in an educational setting. A school
plan such as an Individualized Educational Program (IEP) or a 504 plan is insufficient
documentation in and of itself but can be included as part of a more comprehensive evaluative
report. The documentation must include any record of prior accommodations or auxiliary aids,
including information about specific conditions under which the accommodations were used
(e.g., standardized testing, final exams, licensing, or certification examinations) and whether or
not they benefited the student. However, a prior history of accommodations, without
demonstration of a current need, does not in itself warrant the provision of a like
accommodation. If no prior accommodations were provided, the qualified professional and/or
the student must include a detailed explanation as to why no accommodations were used in the
past and why accommodations are needed at this time.

Because of the challenge of distinguishing normal behaviors and developmental patterns of
adolescents and adults (e.g., procrastination, disorganization, distractibility, restlessness,
boredom, academic underachievement or failure, low self-esteem, and chronic tardiness or
inattendance) from clinically significant impairment, a multifaceted evaluation must address the
intensity and frequency of the symptoms and whether these behaviors constitute an impairment in
a major life activity.

Reasonable accommodation(s) may help to ameliorate the disability and to minimize its impact
on the student’s attention, impulsivity, and distractibility. The determination for reasonable
accommodation(s) rests with the Coordinator of Learning Services at Quinnipiac University
working in collaboration with the student with a disability and, when appropriate, Quinnipiac
University faculty.



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Confidentiality
Quinnipiac University has a responsibility to maintain confidentiality of the evaluation and may
not release any part of the documentation without the student’s informed and written consent.


2.03B3 Recommendations for Parents and Students - ADHD

1. For assistance in finding a qualified professional:
    contact the Coordinator of Learning Services at Quinnipiac University for possible
       referral sources
    contact a physician who may be able to refer you to a qualified professional with
       demonstrated expertise in ADHD
2. In selecting a qualified professional:
     ask what experience and training he/she has diagnosing adolescents and adults
     ask whether he/she has training in differential diagnosis and the full range of psychiatric
        disorders. Clinicians typically qualified to diagnose ADHD may include: Clinical
        Psychologists, Physicians (including Psychiatrists) and Neuropsychologists
     ask if he/she has ever worked with the Coordinator of Learning Services at Quinnipiac
        University
     ask whether you will receive a comprehensive written report
3. In working with the professional:
     take a copy of this document to the professional
     be prepared to be forthcoming, thorough, and honest with requested information
4. As follow-up to the assessment by the professional:
    schedule a meeting to discuss the results, recommendations and possible treatment
    request additional resources, support group information, and publications if you need
       them
    maintain a personal file of your records and reports
    be aware that Quinnipiac University has a responsibility to maintain confidentiality


Assessing Adolescents and Adults with ADHD

The diagnosis of ADHD is strongly dependent on a clinical interview in conjunction with a
variety of formal and informal measures. Since there is no one test, or specified combination of
tests for determining ADHD, the diagnosis requires a multifaceted approach. Any tests that are
selected by the evaluator should be technically accurate, reliable, valid, and standardized on the
appropriate norm group. The following list includes five broad domains that are frequently
explored when arriving at an ADHD diagnosis. This listing is provided as a helpful resource but
is not intended to be definitive or exhaustive.

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1. Clinical interview. The evaluator should: a) provide retrospective confirmation of ADHD; b)
establish relevant developmental and academic markers; c) determine any other co-existing
disorders; and d) rule out other problems that may mimic ADHD. Specific areas to be addressed
include: family history; results of a neuro-medical history; presence of ADHD symptoms since
childhood; presence of ADHD symptoms in last six months; evidence that symptoms cause a
“significant impairment” over time; results of clinical observation for hyperactive behavior,
impulsive speech, distractibility; extent of functional impairment across settings (e.g., academic,
occupational, social); an accounting for periods in which student was symptom-free; presence of
other psychiatric conditions (mood or anxiety disorders, substance abuse, etc.); indication that
symptoms are not due to other conditions (e.g., depression, drug use, neuromedical problems);
relevant medication history; determination of which remediation approaches and/or
compensating strategies are and are not currently effective; determination of what
accommodations, if any, have alleviated symptoms in the past or in the present setting.

2. Rating scales. Self-rater or interviewer-rated scales for categorizing and quantifying the nature
of the impairment may be useful in conjunction with other data. Selected examples include:
     Wender Utah Rating Scale
     Brown Attention-Activation Disorder Scale
     Beck Anxiety Inventory
     Hamilton's Depression Rating Scale
     Conners’ Adult ADHD Rating Scales (CAARS)

3. Neuro-psychological and psycho-educational testing. Cognitive and achievement profiles may
suggest attention or information processing deficits. No single test or subtest should be used as
the sole basis for a diagnostic decision. Acceptable instruments include, but are not limited to:

       Aptitude/Cognitive Ability
            Wechsler Adult Intelligence Scale - IV (WAIS-IV)
            Woodcock-Johnson Psychoeducational Battery - III: Tests of Cognitive Ability
            Kaufman Adolescent and Adult Intelligence Test (KAIT)
            Stanford-Binet Intelligence Scales, Fifth Edition (SB5)

       Academic Achievement
           Woodcock-Johnson Psychoeducational Battery - III: Tests of Achievement
           Wechsler Individual Achievement Test – Third Edition (WIAT-III)
           Scholastic Abilities Test for Adults (SATA)
           Stanford Test of Academic Skills (TASK)
           or specific achievement tests such as:
                        Nelson-Denny Reading Test
                        Stanford Diagnostic Mathematics Test
                        Test of Written Language - 4 (TOWL-4)
                        Woodcock Reading Mastery Tests - Third Edition (WRMT-III)


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       Information Processing
           Detroit Tests of Learning Aptitude - Fourth Edition (DTLA-4)
           Detroit Tests of Learning Aptitude - Adult (DTLA-A)
           Information from subtests on WAIS-IV or
           Woodcock-Johnson Psychoeducational Battery - III:
                    Tests of Cognitive Ability,
           as well as other relevant instruments, which may be useful when
                    interpreted within the context of other diagnostic information.

4. Medical evaluation - Medical disorders may cause symptoms resembling ADHD.
Therefore, it may be important to rule out the following: neuroendocrine disorders
(e.g., thyroid dysfunction); neurologic disorders; and/or impact of medication on
attention if tried, and under what circumstances.

5. Collateral information - Include third party sources which can be helpful to determine the
presence or absence of ADHD in childhood.
     Description of current symptoms (e.g., by spouse, teachers, employer).
     Description of childhood symptoms (e.g., parent).
     Information from old school and report cards and transcripts.


2.03C Psychological Disabilities

2.03C1 Brief Overview
(For more detail please refer to Section 2.03C2: Criteria of Comprehensive Documentation of
Psychological Disabilities.”)

Quinnipiac University recognizes that “psychiatric disabilities” is a generic term used to refer to
a variety of conditions involving psychological, emotional, and behavioral disorders and
syndromes. The terms psychological disabilities and psychiatric disabilities are used
interchangeably in this document. Students requesting accommodations on the basis of a
psychological disability must provide current (within the last year) documentation from a
professional who has undergone comprehensive training and has relevant experience in
differential diagnosis and the full range of psychiatric disorders (e.g., Licensed Clinical
Psychologists, Psychiatrists, Neurologists, Marriage and Family Therapists, Licensed Clinical
Social Workers, and other relevantly trained Medical Doctors). In addition to the requirements
specified above, documentation for students requesting accommodations on the basis of a
psychological disability must include:

a) An interview including a description of the presenting problem(s) including any significant
       developmental, medical, psychosocial and employment; family history; and a discussion
       of dual diagnosis where indicated.



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b) A specific, current (within the last year) psychiatric diagnosis as per the Diagnostic and
       Statistical Manual Of Mental Disorders, Fifth Edition, (DSM- 5) of the American
       Psychiatric Association (2013), which indicates the nature, frequency, and severity of the
       symptoms upon which the diagnosis was predicated. A diagnosis without an explicit
       listing of current symptoms is not sufficient. Serious Emotional Disturbance (SED) is not
       an acceptable diagnosis at the postsecondary level.

c) Primary and Secondary Axis I and Axis II diagnoses. A measure of functioning using the
       Global Assessment of Functioning (GAF) Scale in the DSM-5 is highly recommended.
       Using the GAF, indicate the student’s general, highest and lowest GAF score and
       describe behaviorally the student’s performance at each GAF level using as much
       detail as is known.

d) Prescribed medications, dosages and schedules which may influence the types of
       accommodations provided, including any possible side effects.

e) An indication of whether or not the student was evaluated while on medication, and whether
       or not the prescribed treatment produced a positive response.

f) An integrated summary which: indicates the substantial limitations to major life activities
        posed by the psychological disability, describes the extent to which these limitations
        would impact the academic context for which accommodations are being requested,
        suggests how the specific effects of the psychological disability may be accommodated,
        and states how the effects of the psychological disability are mediated by the
        recommended accommodations.


2.03C2 Criteria for Comprehensive Documentation of Psychological Disabilities

Introduction

This section provides individuals, schools, professional diagnosticians, and service providers
with a comprehensive set of guidelines for documenting psychiatric disabilities. This
documentation is necessary to validate both the presence of a disability and the need for
reasonable accommodations for individuals with psychological disabilities. Quinnipiac
University recognizes that “psychiatric disabilities” is a generic term used to refer to a variety of
conditions involving psychological, emotional, and behavioral disorders and syndromes. The
terms psychological disabilities and psychiatric disabilities are used interchangeably in this
document. The two official sources designed to outline the criteria used in making these
diagnoses are the Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition,
(DSM-5) and the International Classification of Diseases Manual, Tenth Revision (ICD-10).
For the purpose of determining eligibility for accommodation, the symptoms must meet the
ADA definition of a disability. This document provides students, parents, professional
diagnosticians external to Quinnipiac University, and service providers with a common

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understanding and knowledge base necessary to establish the impact of psychological disabilities
on an individual’s educational performance and to validate the need for reasonable
accommodations for students attending Quinnipiac University. The information and
documentation that establishes a psychological disability must be comprehensive in order to
make it possible for a student to obtain appropriate accommodations in a timely fashion.

This document presents requirements in six important areas: 1) qualifications of the evaluator,
2) recency of documentation, 3) comprehensiveness of the documentation to support the
diagnosis of a psychological disability, 4) evidence to establish the functional limitation of the
psychological condition supporting the need for accommodations, 5) multiple diagnoses, and
6) confidentiality. Section 2.03C3 provides recommendations for parents and students to assist
them in finding and working with a qualified professional in regard to this document, including
suggestions for assessment measures.

Under the Americans with Disabilities Act (ADA) of 1990 and Section 504 of the Rehabilitation
Act of 1973, individuals with disabilities are protected from discrimination and may be entitled
to reasonable accommodations and equal access to programs and services. To establish that an
individual is covered under the ADA, documentation must indicate that a specific disability
exists and that the identified disability substantially limits one or more major life activities. A
diagnosis of a disorder/condition/syndrome in and of itself does not automatically qualify an
individual for accommodations under the ADA. The documentation must also support the
request for accommodations, academic adjustments, and/or auxiliary aids.

Terms

Psychological disabilities: Comprise a range of conditions characterized by emotional, cognitive,
       and/or behavioral dysfunction. Diagnoses are provided in the DSM-5 or the ICD-10.
       Note that not all conditions listed in the DSM-5 are disabilities, or even impairments for
       purposes of the ADA. Therefore, a diagnosis of a disability does not, in and of itself,
       meet the definition of a disability necessitating reasonable accommodations under the
       ADA or Section 504 of the Rehabilitation Act of 1973.
Major life activity: Examples of major life activities include walking, sitting, standing, seeing,
       hearing, speaking, breathing, learning, working, caring for oneself, and other similar
       activities. In particular, individuals with psychological disabilities may also experience
       thinking disorders/psychotic disorders that may interfere with the learning process
       (e.g., reading, writing, and calculating).
Functional limitation: A substantial impairment in the individual’s ability to function in the
       condition, manner, or duration of a required major life activity.




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Documentation Requirements – Psychological Disabilities

Qualifications of the Evaluator

Professionals conducting assessments, rendering diagnoses of psychological disabilities, and
making recommendations for appropriate accommodations must be qualified to do so. It is
essential that professional qualifications include both comprehensive training and relevant
expertise in differential diagnosis of psychological disorders and appropriate
licensure/certification. Qualified evaluators are defined as those licensed individuals who are
qualified to evaluate and diagnose psychological disabilities or who may serve as members of the
diagnostic team. These individuals or team members may include: Licensed Clinical
Psychologists, Licensed Clinical Social Workers, Psychiatrists, Advanced Practice Registered
Nurses or Clinical Nurse Specialists in Psychiatry, and other relevantly trained Medical Doctors.
Documentation may be provided from more than one source when a clinical team approach
consisting of a variety of educational, medical, and counseling professionals has been used.

Diagnoses of psychological disabilities documented by family members will not be accepted due
to professional and ethical considerations even when the family members are otherwise qualified
by virtue of training and licensure/certification. The issue of dual relationships as defined by
various codes of professional ethics should be considered in determining whether a professional
is in an appropriate position to provide the necessary documentation.

Finally, the name, title, and credentials of the qualified professional writing the report should be
included. Information about license or certification, as well as the area of specialization,
employment, and state or province in which the individual practices, should also be clearly stated
in the documentation. All reports should be in English, typed or printed on professional
letterhead, dated, and signed.

Recency of Documentation

Due to the changing nature of psychological disabilities, it is essential that a student provide
recent and appropriate documentation from a qualified evaluator. Since reasonable
accommodations are based on the current impact of the disability, the documentation must
address the student's current level of functioning and the need for accommodations (e.g., due to
observed changes in performance or due to medication changes since previous assessment). If
the diagnostic report is more than one year old, the student must also submit a letter from a
qualified professional that provides an update of the diagnosis, a description of the student’s
current level of functioning during the preceding year, and a rationale for the requested
reasonable accommodations.




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Comprehensiveness of the Documentation

In most cases, documentation must be based on a comprehensive diagnostic/clinical evaluation
that adheres to the guidelines outlined in this document. The diagnostic report must include the
following components: 1. a specific diagnosis; 2. a description of current functional limitations
in the academic environment as well as across other settings; 3. relevant information regarding
medications expected to be in use and their anticipated impact on the student in this setting;
4. relevant information regarding current treatment; 5. a specific request for accommodations
with accompanying rationale.

       a) Historical Information, Diagnostic Interview, and/or Psychological Assessment
              The information collected for the summary of the diagnostic interview must
              include, but is not limited to, the following:
                      (1) history of presenting symptoms;
                      (2) duration and severity of the disorder;
                      (3) relevant, developmental, historical, and familial data;
                      (4) relevant medical and medication history, including the student’s
                              current medication regimen compliance, side effects (if relevant),
                              and response to medication;
                      (5) a description of current functional limitations in different settings with
                              the understanding that a psychological disorder usually presents
                              itself across a variety of settings other than just the academic
                              domain and that its expression is often influenced by
                              context-specific variables (e.g., school-based performance);
                      (6) a description of the expected progression or stability of the impact of
                              the condition over time as relevant to the student’s performance;
                      (7) information regarding the kind of treatment and duration/consistency
                             of the therapeutic relationship as relevant to test taking performance.

       b) Specific Diagnosis
             The report must include a specific diagnosis based on the DSM-5 or ICD-10
             diagnostic criteria and include the specific diagnostic section in the report with a
             numerical and nominal diagnosis from DSM-5 or ICD-10. Evaluators are
             encouraged to cite the specific objective measures used to help substantiate the
             diagnosis. The evaluator must use definitive language in the diagnosis of a
             psychiatric disorder, avoiding such wording as “suggests,” “has problems with,”
             or “may have emotional problems.”

       c) Rule Out of Alternative Diagnoses or Explanations
              The evaluator must also investigate and rule out the possibility of other potential
              diagnoses involving neurological and/or medical conditions or substance abuse, as
              well as educational, linguistic, sensorimotor, and cross-cultural factors that may
              result in symptoms mimicking the purported psychological disability.


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Recommendations for Accommodation

The evaluator must describe the degree of impact of the diagnosed psychological disorder on a
specific major life activity, as well as the degree of impact on the student. A link must be
established between the requested accommodations and the functional limitations of the student
that are pertinent to the anticipated academic and residential settings. Accommodations will be
provided only when a clear and convincing rationale is made for the necessity of the
accommodation. A diagnosis, in and of itself, does not automatically warrant approval of
requested accommodations. For example, test anxiety alone is not a sufficient diagnosis to
support requests for accommodations. Given that many students may perceive that they might
benefit from extended time in testing situations, evaluators must provide specific rationales and
justifications for the accommodation. A prior history of accommodations, without demonstration
of current need, does not, in and of itself, warrant the provision of accommodations. If there is
no prior history of accommodations, the evaluator and/or the student must include a detailed
explanation of why accommodations were not needed in the past, and why they are now currently
being requested. Psychoeducational, neuropsychological or behavioral assessments are often
necessary to support the need for reasonable academic accommodations based on the potential
for psychological disorders to interfere with cognitive performance.

Multiple Diagnoses

Multiple diagnoses may require a variety of accommodations beyond those typically associated
with one diagnosis, and therefore the documentation must adhere to Quinnipiac University’s
policy for other diagnoses.

Confidentiality

Quinnipiac University has a responsibility to maintain confidentiality of the evaluation and may
not release any part of the documentation without the student’s informed and written consent.
Furthermore, to safeguard the confidentiality of individuals with psychological disabilities,
evaluators may withhold or redact any portion of the documentation that is not directly relevant
to Quinnipiac University’s criteria for establishing a rationale for requested reasonable
accommodations.


2.03C3 Recommendations for Parents and Students - Psychological Disabilities

1. For assistance in finding a qualified professional [See Section 2.03C2I for definition of a
qualified professional]:
    contact the Coordinator of Learning Services at Quinnipiac University for possible
        referral sources
    contact your primary care physician who may be able to refer you to a qualified
        professional with demonstrated expertise in psychological disorders


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2. In selecting a qualified professional:
     ask what experience and training he/she has had diagnosing adolescents and adults
     ask whether he or she has training in differential diagnosis and the full range of
        psychological disorders. Clinicians typically qualified to diagnose psychiatric disabilities
        include: Licensed Clinical Psychologists, Licensed Clinical Social Workers, Psychiatrists,
        Advanced Practice Registered Nurses or Clinical Nurse Specialists in Psychiatry and
        other relevantly trained Medical Doctors
     ask if he/she has ever worked with the Coordinator of Learning Services at Quinnipiac
        University
     ask whether you will receive a comprehensive written report

3. In working with the professional:
     take a copy of these guidelines to the professional
     be prepared to be candid, thorough, and honest in providing requested information

4. As follow-up to the assessment by the professional:
    schedule a meeting to discuss the results, recommendations, and possible treatment
    request additional resources, support group information, and publications if you need
       them
    maintain a personal file of your records and reports
    be aware that Quinnipiac University has a responsibility to maintain confidentiality

Assessing Adolescents and Adults with Psychological Disorders

This subsection contains selected examples of tests and instruments that may be used to
supplement the clinical interview and support the presence of functional limitations. All tests
used should be current and have sufficient reliability, validity, and utility for the specific
purposes for which they are being employed. All tests should also be normed on relevant
populations, and the results should be reported in standard scores and/or percentile ranks. Tests
that have built-in validity scales or indicators are preferred over those that do not.

1. Neuropsychological and Psychoeducational Testing:
       Cognitive, achievement, and personality profiles may suggest attention or information-
       processing deficits, but no single test or subtest should be used solely to substantiate a
       diagnosis. Acceptable instruments include, but are not limited to:

       Aptitude/Cognitive Ability
           Wechsler Adult Intelligence Scale-IV (WAIS-IV)
           Woodcock-Johnson Psychoeducational Battery-III - Tests of Cognitive Abilities
           Kaufman Adolescent and Adult Intelligence Test (KAIT)
           Stanford-Binet Intelligence Scales, Fifth Edition (SB5)



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      Academic Achievement
              Woodcock-Johnson Psychoeducational Battery-III - Tests of Achievement
              Wechsler Individual Achievement Test-III (WIAT-III)
              Stanford Test of Academic Skills (TASK)
              Scholastic Abilities Test for Adults (SATA)
              or specific achievement tests, such as:
               Nelson-Denny Reading Test
               Woodcock Reading Mastery Tests - Third Edition (WRMT-III)
               Test of Written Language-4 (TOWL-4)
               Stanford Diagnostic Mathematics Test

      Information Processing
            Information from subtests on the WAIS-IV or
            Woodcock-Johnson Psychoeducational Battery-III - Tests of Cognitive Abilities
            Detroit Tests of Learning Aptitude-4 (DTLA-Adult)
            Wechsler Memory Scale IV
            Rey-Osterrieth Complex Figure Test
            Stroop Interference Test
            Trail Making Test
            Wisconsin Card Sorting Test
            Halstead-Reitan Neuropsychological Test Battery
            California Verbal Learning Test-II
            Continuous Performance Test
            Category Test
            Other relevant instruments, may be useful

2. Personality Tests
       Acceptable instruments may include, but are not limited to:
              Minnesota Multiphasic Personality Inventory-Adolescent-2 (MMPI-2)
              Thematic Apperception Test
              Millon Adolescent Personality Inventory
              Millon Clinical Multiaxial Personality Inventory-III
              NEO Personality Inventory-Revised
              Personality Assessment Inventory
              Sixteen Personality Factor Questionnaire




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3. Rating Scales:
       Self-rater or interviewer-rated scales for categorizing and quantifying the nature
       of the impairment may be useful in conjunction with other data, but no single test
       or subtest should be used solely to substantiate a diagnosis.
       Acceptable instruments include, but are not limited to:
               Beck Anxiety Inventory
               Beck Depression Inventory-II
               Brief Psychiatric Rating Scale
               Burns Anxiety Inventory
               Burns Depression Inventory
               Children’s Depression Inventory
               Hamilton Anxiety Rating Scale
               Hamilton Depression Rating Scale
               Inventory to Diagnose Depression
               Multidimensional Anxiety Scale for Children
               Profile of Mood States
               State-Trait Anxiety Inventory
               Taylor Manifest Anxiety Scale
               Yale-Brown Obsessive-Compulsive Scale

2.03D Acquired Brain Injury (ABI)/Traumatic Brain Injury (TBI)

Students requesting accommodation on the basis of an ABI/TBI must provide documentation
(in most cases within three years, recent ABI/TBI within one year) from a professional who has
undergone comprehensive training and has relevant experience in the assessment of ABI/TBI in
adolescents and/or adults (e.g. Neuropsychologists, Clinical or Educational Psychologists). In
addition to the requirements specified above, documentation for students requesting
accommodations on the basis of an ABI/TBI must include but not be limited to:

a) A neuropsychological evaluation containing assessments of intellectual, conceptual and
       cognitive competence; academic skills; personality status; motor facility of all
       extremities; sensory, perceptual and processing efficiency; visual, auditory and tactile
       facility; speech, language and communication ability; and evaluation of memory and
       attention.

b) Utilization of particular evaluation techniques must be at the discretion of the evaluator.
       Measures, such as the following, will be expected to appear in the selected battery:
       Bender-Gestalt, Halstead Reitain Battery (or selected parts), selected parts of the
       Illinois Test of Psycholinguistic Ability (or other psycholinguistic tests); Detroit Tests of
       Learning Aptitude-4 or Detroit Tests of Learning Aptitude - Adult; Luria Nebraska
       Battery (or selected parts); Peabody Individual Achievement Test (or other adult
       individual achievement tests); Woodcock Reading Mastery Tests - III; Woodcock-
       Johnson Psychoeducational Battery-III; and the Spache Written Language Assessment.

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c) An interview including a description of the presenting problem(s); developmental, medical,
       psychosocial and employment histories; family history (including primary language of the
       home and the student's current level of English fluency); and a discussion of dual
       diagnosis where indicated.

d) An integrated summary which: indicates the substantial limitations to major life activities
       posed by the specified brain injury, describes the extent to which these limitations impact
       the academic context for which accommodations are being requested, suggests how the
       specific effects of the brain injury may be accommodated, and states how the effects of
       the brain injury are mediated by the recommended accommodations.


2.03E Sensory Conditions

       1. Blindness or Low Vision.
               In addition to the requirements specified above, documentation for students
               requesting accommodations on the basis of low vision or blindness must include:
                       a. An ocular assessment or evaluation from an Ophthalmologist
                       b. A low-vision evaluation of residual visual function, when appropriate
                       c. Suggestions as to how the functionally limiting manifestations of the
                               disabling condition(s) may be accommodated

       2. Deaf/Hard of Hearing/Hearing Impaired
              In addition to the requirements specified above, documentation for students
              requesting accommodations on the basis of being deaf or hard of hearing
              must include:
                      a. An audiological evaluation and/or audiogram
                      b. An interpretation of the functional implications of the diagnostic data
                              and hearing aid evaluation, when appropriate
                      c. Suggestions as to how the functionally limiting manifestations of the
                              disabling condition(s) may be accommodated




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2.03F Organic Medical Conditions

      In addition to the requirements specified above, documentation for students requesting
      accommodations on the basis of physical mobility, physical dexterity, or chronic
      health-related disabilities must include:
              1. An identification of the disabling condition(s)
              2. An assessment of the functionally limiting manifestations of the condition(s)
                      for which accommodations are being requested
              3. Degree and range of functioning for a chronic or progressive condition
              4. Prescribed medications, dosages and schedules which may influence the types
                      of accommodations provided, including any possible side effects
              5. Suggestions as to how the functionally limiting manifestations of the disabling
                      condition(s) may be accommodated


2.03G Other Disabilities Not Covered Above

      In addition to the requirements specified above, students and professionals are advised
              to discuss the requirements of appropriate documentation for students requesting
              accommodations on the basis of other disabilities with the Coordinator of
              Learning Services.




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                          Section 3




                          ADA/504

                   Grievance Procedure

                   Quinnipiac University




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3.01 Grievances

Students who believe they have been subjected to discrimination on the basis of disability or
have been denied access to services or accommodations required by law, have the right to use
this Grievance Procedure. In general, the Grievance Procedure is designed to address disputes
concerning the following:

       A. Disagreements regarding a requested service, accommodation, or modification of a
          University practice or requirement;
       B. Inaccessibility of a program or activity;
       C. Harassment or discrimination on the basis of disability;
       D. Violation of privacy in the context of disability

Undergraduate and graduate students (excepting students of the School of Law) with inquiries
regarding relevant Quinnipiac University policies or procedures should be directed to the
Coordinator of Learning Services, (203-582-5390), whose office is located in the North wing of
the Arnold Bernhard Library. Students of the Quinnipiac School of Law should direct inquires
to the Associate Dean for Students, (203-582-3220), whose office is located in the School of
Law and Education, 310K.

3.02 Informal Procedure

In the event an individual believes that he/she has received discriminatory treatment and has been
unable to resolve the issue with the staff identified above, a student may follow an informal
process to resolve the issue. Undergraduate and graduates working with the Coordinator of
Learning Services may contact the Associate Vice President of Retention and Academic Success
(203-582-5338). Students of the School of Law working with the Associate Dean of Students
(Law) should contact the Dean of the School of Law. Contact with the appropriate person should
be made within fifteen (15) days after the alleged discriminatory act or incident. Discretion may
be exercised in the event contact is made after the fifteen (15) day period.

During this stage in the procedure, the complaining party is designated the “aggrieved
individual” and the person(s) whom the aggrieved individual is complaining against should be
designated the “alleged discriminating party.”

Neither the Associate Vice President of Retention and Academic Success nor the Dean of the
School of Law will serve as an advocate for either the aggrieved individual or the alleged
discriminating party, but merely process the allegation(s) and attempt to informally resolve the
differences between the two parties within fifteen (15) days after being contacted by the
aggrieved individual.

If the aggrieved individual is not satisfied with the outcome of the informal process, he/she may
file a formal complaint within (15) days after the conclusion of the attempt to informally resolve
the differences.
   As outlined above, the informal process, theoretically, should not exceed forty-five (45) days.
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3.03 Formal Procedure

      A. Initial Process

      The aggrieved individual initiates the formal procedure by filing a formal complaint in
      writing to the Vice President of Academic Affairs, whose office is located in the Center
      for Communications and Engineering LA 315. Once the complaint is filed, the status of
      the aggrieved individual changes to that of “complainant.” The Vice President of
      Academic Affairs may assist the complainant in properly filing a complaint; however, it is
      important that the Vice President of Academic Affairs not serve as an advocate for the
      complainant. The formal complaint may be a simple written statement, but should
      include the following:

             1.      The complainant’s name, address, e-mail address and phone number;
             2.      A full description of the problem;
             3.      A statement of the remedy requested;
             4.      A statement setting forth the outcome of the informal procedure describe
                     above.

      B. Investigation

      Once the complaint has been properly filed, the Vice President of Academic Affairs who
      shall serve as grievance officer, shall promptly initiate an investigation. In undertaking
      the investigation, the Vice President may interview, consult with and/or request a written
      response to the issues raised in the grievance from any individual the Vice President
      believes to have relevant information, including faculty, staff and students.

      The complainant and the party against whom the grievance is directed shall have the right
      to have a representative. Each party shall indicate whether he or she is to be assisted by a
      representative and if, so, the name of that representative. For purposes of this procedure,
      an attorney is not an appropriate representative.

      Upon completion of the investigation, the Vice President will prepare and transmit to
      the student, and to the party against whom the grievance is directed, a final report
      containing a summary of the investigation, written findings and a proposed disposition.
      This transmission will be expected within thirty (30) calendar days of the filing of the
      formal complaint. The deadline may be extended by the Vice President for good cause.
      The final report shall also be provided, where appropriate, to any University officer
      whose authority will be needed to carry out the proposed disposition.




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C. Appeal

Within ten (10) calendar days of the issuance of the final report, the complainant or the
party against whom the grievance is directed may appeal the Vice President’s
determination to the Executive Vice President and Provost , located in the North wing of
the Arnold Bernhard Library N117, fax number (203) 582-8968. The written request for
review must specify the particular substantive and or procedural basis for the appeal, and
must be made on grounds other than general dissatisfaction with the proposed disposition.
Furthermore, the appeal must be directed only to issues raised in the formal complaint as
filed or to procedural errors in the conduct of the grievance procedure itself, and not to
new issues.

A copy of the Executive Vice President and Provost’s written decision will be expected
within thirty (30) calendar days of the filing of the appeal and shall be sent to the parties,
the grievance officer and, if appropriate, to the University officer whose authority will be
needed to carry out the disposition. The deadline may be extended by the Executive
Vice President and Provost for good cause. The decision of the Executive Vice President
and Provost on the appeal is final.

This formal process does not preclude an individual’s right to file a formal complaint
with the Office for Civil Rights of the United States Department of Education, or any
other Federal agency.




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                               Appendix 1
      General Recommendations for Students with Disabilities and Parents


In finding a qualified professional:
     contact the Coordinator of Learning Services at Quinnipiac University to discuss
       documentation needs and possible referral sources
     discuss your future plans with the Coordinator and, if additional documentation is
       required, seek assistance in identifying a qualified professional

In selecting a qualified professional:
     ask what his or her credentials are
     ask what experience he or she has had working with adolescents and adults with
        disabilities
     ask if he or she has ever worked with the Coordinator of Learning Services at
        Quinnipiac University
     ask whether you will receive a comprehensive written report

In working with the professional:
    take a copy of this document to the professional
    encourage him or her to clarify questions with the Coordinator of Learning Services
    be prepared to be forthcoming, thorough and honest with requested information
    know that professionals must maintain confidentiality with respect to your records
      and testing information

In following up the assessment by the professional:
     request a written copy of the assessment report
     request the opportunity to discuss the results and recommendations
     request additional resources, support group information, and publications if you
        need them
     maintain a personal file of your records and reports
     be aware that Quinnipiac University has a responsibility to maintain confidentiality




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                                        Appendix 2

                                Resources and Organizations

Anxiety Disorder Association of America (ADAA)
11900 Parklawn Drive, Suite 100
Rockville, MD 20852
301-231-9350 voice
301-231-7392 fax
http://www.adaa.org
The ADAA promotes the prevention and cure of anxiety disorders and works to improve the
lives of those who have them.

Association on Higher Education and Disability (AHEAD)
107 Commerce Center Drive, Suite 204
Huntersville, NC 28078
704-947-7779 voice/TTY
704-948-7779 fax
http://www.ahead.org
AHEAD sponsors numerous training programs, workshops, publications, and conferences for
professionals in the field of higher education disability.

Children and Adults with Attention-Deficit/Hyperactivity Disorder (CHADD)
8181 Professional Place, Suite 150
Landover, MD 20785
1-800-233-4050 voice - toll free
301-306-7070 voice
301-306-7090 fax
http://www.chadd.org
CHADD is a national organization with over 32,000 members and more than 500 chapters
nationwide that provides support and information for parents of children with ADHD and adults
with ADHD.

The Council for Exceptional Children (CEC)
1920 Association Drive
Reston, VA 22091-1589
703-620-3660 voice
703-264-9446 TTY
703-264-9494 fax
http://www.cec.sped.org
The CEC is the largest international professional organization committed to improving
educational outcomes for individuals with disabilities.



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Learning Disabilities Association of America (LDA)
4156 Library Road
Pittsburgh, PA 15234-1349
412-341-1515 voice
412-344-0224 fax
http://www.ldanatl.org
LDA is the largest nonprofit volunteer organization advocating for individuals with learning
disabilities. LDA has more than 600 local chapters and affiliates in 50 states, Washington, DC,
and Puerto Rico. LDA seeks to educate individuals with learning disabilities and their parents
about the nature of the disabilities and inform them of their rights.

National Center for Learning Disabilities (NCLD)
381 Park Avenue South, Suite 1401
New York, NY 10016
212-545-7510 voice
212-545-9665 fax
Toll-free Information and Referral Service: 1-888-575-7373
http://www.ncld.org
NCLD provides the latest information on learning disabilities and resources available to parents,
professionals, and adults with learning disabilities. Specific information about learning
disabilities, as well as local referrals to schools, clinics, camps, colleges’ parent support groups,
and other sources of help are available.

National Depressive and Manic-Depressive Association (NDMDA)
730 North Franklin Street, Suite 501
Chicago, IL 60610-7204
1-800-826-3632 voice – toll free
312-642-0049 voice
312-642-7243 fax
http://www.ndmda.org
The NDMDA is a nonprofit organization aimed at helping people with depressive spectrum
illnesses and their families.

Obsessive-Compulsive Foundation, Inc. (OCF)
337 North Hill Road
North Branford, CT 06471
203-315-2190 voice
203-315-2196 fax
http://www.ocfoundation.org
The OCF is an international not-for-profit organization composed of people with OCD and
related disorders, their families, friends, professionals, and other concerned individuals.
The Internet Mental Health Web page, http://www.mentalhealth.com is another very good
resource.

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[The material contained in the document Criteria for Comprehensive Documentation of
Disabilities in Adolescents and Adults at Quinnipiac University was produced following
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Committee on Learning Disabilities, Educational Testing Service’s Task Force on Psychiatric
Disabilities, and CT AHEAD Ad Hoc Committee.
The members of these committees are listed below.

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AHEAD Ad Hoc Committee on Learning Disabilities
Members consisted of those mentioned above and included Catherine Nelson, Educational Testing Services

ETS Office of Disability Policy
Sheree Johnson-Gregory, Director and Loring C. Brinckerhoff, Disability Accommodations Specialist
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